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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
__________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      vs.                           )
                                    )    Docket No. 1: 21-cr-10248-NMG
ALI JAAFAR, MOHAMED JAAFAR,         )
and YOUSEF JAAFAR,                  )
            Defendants.             )
__________________________________ )

                          MOTION TO DISMISS INDICTMENT
                [With Incorporated Memorandum of Points and Authorities]


       The most important and meaningful question in this case, the answer to which explicates

and establishes the reason and purpose for all other actions that are the foundation for this

prosecution but, the simplest and least understood circumstance that seems to confound the

participants on both sides of the “v.” was recognized and its importance captured and cogently

expressed in a simple question by a woman juror during a grand jury presentation in a

companion case, At the end of the presentation the Prosecutor asked if the jurors had any

questions. The juror rose and asked -- “If I purchase a ticket and its mine and I choose to sell it,

why is it illegal?” The least understood portion of this conundrum was patiently exposed when,

at the request of the Prosecutor, the Trooper answered:

       If you win a ticket yourself and you give it to another person, sell it to another
       person, you're not allowed to do that. The only way you're allowed to do that is if
       you use what is described as Competent Court of Jurisdiction.

       As will be shown infra, virtually every member of the prosecution team similarly

confused the idea of an assignment of proceeds with the meaning of an owner. Without

the resolution of this question all the statements in the Indictment are inexplicable.




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    I.      THE INDICTMENT FAILS TO STATE AN OFFENSE BECAUSE THE
            SPECIFIC STATEMENTS SET OUT AS THE CHARGING LANGUAGE ARE
            QUESTIONS OF LAW NOT QUESTIONS OF FACT AND ARE NOT
            SUFFICIENT AS ALLEGATIONS THAT CAN BE CONSIDERED WITHOUT
            RESOLUTION OF THE QUESTIONS OF LAW REFERENCED IN THE
            CHARGING DOCUMENT.

            a. Relevant Background of Laws, Prior Proceedings, and Acts of the Defendants

         The captioned criminal prosecution of Ali, Mohamed and Yousef Jaafar, a father and his

two sons (hereinafter the “Jaafars”) is part of a coordinated investigations involving multiple

law enforcement agencies of the state and federal government. The target of the investigation is a

so-called scheme aimed principally at the Commonwealth of Massachusetts, through the

Massachusetts Lottery Commission (Lottery) for retail purchases of winning game tickets to

evade and defeat the payment of taxes and other financial obligations possibly payable to the

Commonwealth and the IRS. The claimed activity is referred to as “ten-precenting”. The

primary focus of the investigation is the claimed manipulation of the Lottery’s Rules and

Regulations. The investigation began before 2018 and expanded thereafter and spread to various

law enforcement agencies by criminal referrals from the Massachusetts State Lottery

Commission to the federal and state prosecutorial authorities. 1

            b. The Enactment of the Massachusetts Lottery Commission

         The Lottery was enacted in 1971 and has operated continuously for 51 years under the

same basic enabling statute, Massachusetts General Laws c. 10, §20, et seq. and 961 CMR 2.0.

The pertinent portions of the statute and Rules upon which the Indictment is predicated relate to

the redemption procedure to receive payment for winning tickets – how the process physically

operates and to whom payment will be made. See and compare G.L. c. 10, §§24, 25, 28, and 29.


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   Two other prongs of the investigation are Commonwealth v. Voelker, Suffolk Superior Court, Docket
No. 21SUCR00646-001, et al., presently pending in Suffolk County and United States v. Jones brought in
this Court. There are others that are still in the investigation stage.
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Copies attached as Addendum 1. Other than a Directive issued by the Lottery’s Executive

Director in 2018 there have been only minor amendments to the redemption paradigm in the past

50 years.

       The particular provision that appeared troublesome to the Commonwealth and the Lottery

relates to determining ownership of a winning ticket and how the legal interpretation of the

concept interfaces with the other Rules to determine the identity of the person to whom the

winnings would be paid – by the enactment, the winnings would be paid only to the owner and

the owner was defined as the person holding an unsigned winnings ticket. See §§24 and 25.

       The use of the holder/owner concept was considered as different from the provision in

§28 that an assignee could not become an owner and the Lottery would not pay any of the

proceeds from the winning ticket to an assignee. No similar restriction was placed on the

holder/owner transactions. Id. Although the Lottery and other law enforcement agencies were

aware of the holder/owner Rules and implications where the holder would invariably be a non-

purchasing third-party in the redemption transactions counsel has been unable to find a single

prosecution of a third-party holder/owner under §§24 and 25 before 2018.

            c. The Paradigm Shifting 2018 Directive Implementing a New Rule Punishing
               “Frequent Lottery Winners”

       In or about 2018, the Lottery, after having been criticized in a 1999 Audit performed by

former Massachusetts State Auditor Joseph DeNucci for not changing the then existing

redemption procedure, the Lottery did nothing and took no action on the audit results for over 14

years. The then existing process that the government now says is unlawful and illegal continued

to be used by the Lottery.

       In or about 2014, when the Lottery personnel were questioned again about the inactivity

on changing third-party redemptions Mike Beaudet an investigative journalist from WCVB

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interviewed Lottery Executive Director Michael Sweeney who indicated “he suspects high

frequency winners are enabling fraud.” See https://www.wcvb.com/article/5-investigates-lottery-

targeting-high-frequency-winners/28511910 WCVBUpdated: 9:56 PM EDT Jul 25, 2019.

Sweeney further stated that the Lottery believes “these winners very likely aren't just lucky;

they're cashing the tickets that other people bought and getting cash or something else in

exchange. It's an issue highlighted in state audit after state audit, this one going back 20 years.”

Id.

       Beaudet pressed Sweeney by asking: "Why did it take the Lottery so long to go after this

issue?" Sweeney indicated that the Lottery “is working with law enforcement to investigate high-

frequency winners.” Sweeney concluded by theorizing that: “While the Lottery can't criminally

charge players, it can under new regulations suspend them. Id.

       The purpose of the new method in the Directive was not to amend the Lottery Laws but,

rather, to exact some punishment in a different and peripheral area of the Lottery Laws and hope

that would abate actions of so-called “frequent lottery winners”. The hope was that the

imposition of a new rule making redemption more difficult would implicitly stop third parties

obtaining and then redeeming winning lottery tickets from retail purchases. The Commission’s

actions were imposed beyond the authority delegated when the Lottery was enacted.

       The apparent reason for this convoluted approach was that the Lottery had recently tried

to obtain legislative approval through legislation proposed, drafted, and filed by the Executive

Director, which never made it to the legislative body for a vote. The lack of legislative action

reveals an indicium that the proposed change in the paradigm offered by the Lottery lacked

legislative support and created a reasonable inference that the legislative intent was always to




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link §24’s permissible action for a third-party receiving possession of a winning ticket and

become the owner and be able to redeem the prize.

         Reclassifying the §24 transfer, with its attendant change of ownership and right to redeem

the winning ticket, without directly and specifically amending the concept that the holder of an

unsigned winning ticket becomes its owner and leaving in place the rule that only the owner was

entitled to be paid the prize nullified the entire redemption procedure and left no procedure in

place to obtain the bounty from the winning ticket.

   II.      THE PROSECUTION IN THIS CASE FAILED TO CONSIDER THE
            SECOND ASPECT REQUIRED IN THE EVALUATION OF THE
            PROPRIETY AND SUFFICIENCY OF THE INDICTMENT BY THE GRAND
            JURY

         At the previous hearing in this matter, counsel informed the Court that the foundation in

both cases was an act of a non-purchasing third party obtaining possession of winning Lottery

Tickets from a retail purchaser and thereafter presenting the ticket(s) for redemption of the

proceeds from the Lottery. Because both prosecutions involve interpretations of the same state

statute (MGL c. 10, (MGL c. 10, §20, et seq.) and were administrated by the same state

Administrative Agency, it might make sense to allow the Commonwealth to proceed and the

instant case follow, after the same dismissal issues would have been raised and decided in the

companion state cases.

         Government counsel responded that the jurisdiction in each case involved a different

sovereign, different statutes, and the constitutional issues in the state statute would not be

dispositive of the different crimes charged in this Federal case. Simplifying his argument, the

Prosecutor disputed the similarities between the two cases and stressed that the question in this

case is whether the defendants received the income set out on their respective tax returns and

whether the deductions claimed to offset the income were proper. The Prosecutor in the instand

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case argued the narrower issue here could not be affected by a state court decision that the statute

was vague and misleading.

       The defendants replied that the propriety of various aspects of the statute and the

agency’s interpretation of unapproved changes to the Rules and Regulations and their

misconstruing the breadth of its interpretation and application of the new Rules by the

managerial staff at the Lottery skewed the meaning and understanding of the statute which, in

turn, affected and obfuscated the meaning of the evidence presented and process of the

presentation made to the Grand Jury. Defendants’ counsel argued that the central issue in each

prosecution is whether the establishment of the Frequent Lotter Winners Rule in 2018 implicitly

nullified the applicability of the permissive procedure set out in G.L. c. 10, §§24 and 25 that

allowed a third party to receive an unsigned winning ticket, become the holder and redeem the

winnings.

       Apparently believing the Jaafar’s defense and request to dismiss is focused only on

whether the enabling statute is unconstitutionally vague and overbroad, the government argues

that a decision from the state court regarding that issue is irrelevant to the separately charged

§371 conspiracy to commit tax fraud in the instant case. The Government expresses the

simplicity of its position in a single connected series of questions – (1) did the Indictment allege

that the Jaafars received income from the Lottery, (2) did they file and certify the identity of the

income and, (3) did the Jaafars properly deduct purported gambling losses from the gross

amount of the Lottery identified gambling winnings to avoid the amount of taxes owed, as

compared to using the gambling loss deduction to defraud the United States.

       The answer to this question is not a fact inquiry but, rather, is a question of law to decide

if §29 relates to customers selling their winning tickets or only proscribes licensed agents. The



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Jaafars submit that any decision from the state court will address the meaning of the operative

charging concepts of holder, owner, winner, and assignment and how these concepts were

understood by the Lottery Commission when it created and used this procedure for 50 years and

how such inactivity could be viewed when the defendants filed their tax returns on income

determined by the lottery and submitted on W-2G forms as gambling income.

       The way the Lottery Commission and its employees perceived the Jaafars’ acts and

reacted to the public in general and how the denoting of the funds redeemed as gambling income

and how such income would (or should) be adjusted by gambling losses – or any costs or loses --

impacts the willfulness and knowledge states of mind required to prove the tax fraud charges.

       The Jaafars’ submit that such a decision by an appellate court involves a far more

nuanced examination than the opinion of the Massachusetts State Trooper who provided the

expert opinion that “they can’t do that”, without amplification, or how the Trooper and the entire

cadre of people involved instructed, by their respective opinions, that the transaction between the

Jaafars and the retail purchasers constituted a §28 prohibited and unlawful assignment after

having identified that very same interaction as a transfer of ownership of the ticket was

unwaveringly described and treated as permissible for over 50 years.

       When the defendants last appeared before this Court and were asked if any motions

remained outstanding Defendants’ counsel stated that the Defendants expect to file a Motion to

Dismiss and were awaiting the state court’s decision in a companion case brought by the

Commonwealth and also based on a criminal referral from the Massachusetts Lottery

Commission, The Voelker case also charged those defendants with, among other alleged

violations of the Lottery’s Rules and Regulations, conspiracy to commit tax fraud of taxes due to

the United States.



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        The fraudulent scheme alleged in both the State and Federal cases is virtually identical

and other than the jurisdictional differences. involved the same identical laws, agency Rule and

Regulations, and activity that constitutes the alleged illegal activity in this case.

            a. The Application of the Laws to The Construction of the Indictment

        The Government expresses the simplicity of its position in a single connected series of

 questions – (1) did the Indictment allege that the Jaafars received gambling income from the

 Lottery, (2) did the Jaafars file and certify the identity of the income and, (3) did the Jaafars

 properly deduct purported gambling losses from the gross amount the Lottery identified as

 gambling winnings to avoid the amount of taxes owed, as compared to using the gambling loss

 deduction to defraud the United States.

        The answer to these questions does not require an inquiry into the facts but, rather, is a

 question of law to decide if §29 relates to customers selling their winning tickets or only

 proscribes licensed agents. The Jaafars submit that any decision from the state court will

 address the meaning of the operative charging concepts of holder, owner, winner, and

 assignment and how these concepts were understood by the Lottery Commission when it

 created and used this procedure during the 50 years of operation and how such inactivity could

 be viewed when the defendants filed their tax returns on income determined by the lottery and

 submitted to them on W-2G forms as gambling income.

        The way the Lottery Commission and its employees perceived the Jaafars’ acts and

 reacted to the public in general and how denoting of the funds redeemed as gambling income

 and how such income would (or should) be adjusted by gambling losses impacts the willfulness

 and knowledge required to prove the tax fraud charges. The Jaafars’ submit that such a decision

 by an appellate court involves a far more nuanced examination than the opinion of the



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 Massachusetts State Trooper who provided the expert opinion that “they can’t do that”, without

 amplification, or how the Trooper and the entire cadre of people involved instructed, by their

 respective opinions, that the transaction between the Jaafars and the retail purchasers constituted

 a §28 prohibited and unlawful assignment after having identified that very same interaction as a

 transfer of ownership of the ticket was unwaveringly described and treated as permissible for

 over 50 years.

           b. The Applicable Law for a Decision in this Case

       The fraudulent scheme alleged in both the State and Federal cases is virtually identical

and other than the jurisdictional differences. involved the same identical laws, agency Rule and

Regulations, and activity that constitutes the claimed illegal activity in this case.

       There are two primary ways in which a defendant can proceed with a motion to dismiss

an indictment for failure to sufficiently state an offense: first, a defendant may contend that an

indictment is insufficient on the basis that it does not charge an essential element of the crime; or

second, a defendant may claim that an indictment fails to state an offense on the basis that the

specific facts alleged fall beyond the scope of the relevant criminal statute, as a matter of

statutory interpretation. United States v. Willis, 844 F.3d 155 (3d Cir. 2016), opinion corrected,

2016 WL 7635927 (3d Cir. 2016). See also United States v. Panarella, 277 F.3d 678 (3d Cir.

2002). The question before a court on a motion to dismiss is not whether the indictment alleges

sufficient facts from which the jury could find that defendant violated a given statute, but

whether the government conceivably could produce such evidence at trial. United States v. Segal,

299 F. Supp. 2d 840 (N.D. Ill. 2004).

       District court may resolve a motion to dismiss in a criminal case when the infirmity in the

indictment is a matter of law and none of the relevant facts are disputed. See Fed.Rules



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Cr.Proc.Rule 12(b), see also United States v. Al-Arian, 308 F. Supp. 2d 1322 (M.D. Fla. 2004).

A court faced with a motion to dismiss must ask, first, whether the indictment states an offense,

and second, whether the indictment is sufficiently specific to provide notice and allow the

defendant to plead double jeopardy in a subsequent case. United States v. Kramer, 499 F. Supp.

2d 300 (E.D. N.Y. 2007). The Court must review the indictment using a commonsense

construction and examine the statutes at issue as applied to the facts as alleged in the

indictment, to determines whether defendants' conduct, as charged, reflects a proper

interpretation of criminal activity under the relevant criminal statute(s). United States. v. Bryant,

556 F. Supp. 2d 378 (D.N.J. 2008).

       In United States v. Del Valle-Fuentes, 2015 WL 6866174 (D.P.R. 2015) the Court stated

that a motion to dismiss based on a defense, objection, or request that could be determined

without a trial was the appropriate procedural vehicle for defendant to seek dismissal of

indictment. A defendant is entitled to dismissal of the indictment if he shows that the

indictment's allegations, even if true, would not state an offense. United States v. Whyte, 229 F.

Supp. 3d 484 (W.D. Va. 2017), appeal dismissed, 691 Fed. Appx. 108 (4th Cir. 2017).

       On a pretrial motion to dismiss an indictment or information based on the failure to state

an offense, in limited circumstances, in which the government does not dispute the ability of the

court to reach the motion and proffers, stipulates, or otherwise does not dispute the pertinent

facts, a pretrial dismissal is essentially a determination that, as a matter of law, the government is

incapable of proving its case beyond a reasonable doubt. United States v. Brissette, 919 F.3d 670

(1st Cir. 2019). 2 In United States v. Musso, 914 F.3d 26 (1st Cir. 2019) the Court indicated that a

a district court may consider a pretrial motion to dismiss an indictment where the government

2
  Undersigned counsel represented the co-defendant Sullivan in the Brisette case and made this same
suggestion to the prosecutor as the most efficient and fair way to dispose of this case.


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does not dispute the ability of the court to reach the motion and proffers, stipulates, or otherwise

does not dispute the pertinent facts. An indictment is ripe for dismissal if the facts demonstrate

that, as a matter of law, the prosecution will not be able to prove each of the elements of the

charged offense. United States v. Sidoo, 471 F. Supp. 3d 369 (D. Mass. 2020). This is the

contention the Jaafars make in this case.

        The errors in the Grand Jury presentation flow directly from the imposition and

interpretation of the new Frequent Lotter Winners Rule and, the Defendants assert denied them

Due Process of Law and a fair and unbiased consideration of the return of the indictment. The

error was vividly displayed during the grand jury presentation in Voelker. 3 As discussed above,

in response a preceptive question by a Juror capturing the central issue in this case. A woman

juror asked: "If I purchase a ticket and its mine and I choose to sell it, why is it illegal?" 4 The

Prosecutor turned to one of the investigating offices and asked him to answer briefly and explain

unlawful assignment as in G.L. c.10, § 23 et seq. and if he could provide in a very limited way

his understanding of the law. Id., (emphasis added). The Trooper answered incorrectly. The

Trooper’s answer is clearly wrong and highlights the fact/law distinction. As a primary matter

whether the question concerned the question of ownership, that the Prosecutor identified as an

unlawful assignment, and that could only be determined as a legal decision of the specific words.

The same circumstance is involved in all the statements set out in the Indictment. See Chart of

statements attached as Addendum 2. The only way the statements could be considered proof of a

crime is after the legal question about what the words mean and signify are resolved. All the

3
  Although counsel cannot say with certainty that the same question was asked by the indicting Grand
Jury in this case the Answer and Instruction given on this point is the Lottery’s position and was
assuredly present in this case in words or substance.
4
   Although the Commonwealth is now claiming the subject transfer transaction is an assignment rather
than a sale, the presentation to the Grand Jurors before the question was asked implied the transaction was
a change of possession from the retail buyer to a third party.
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representations in the Indictment suffer from the same infirmity and all undergo a legal inquiry

before any possible use to show that a crime was committed.

   III.      THE JAAFARS WERE DENIED DUE PROCESS OF LAW BY THE RETURN
             OF THE INDICTMENT

          Due process is the legal requirement that the government must respect all legal rights that

are owed to a person. Due process balances the power of law of the land and protects the

individual person from it. When a government harms a person without following the exact

course of the law, this constitutes a due process violation, which offends the rule of law. The

question in the instant case is whether “the Jaafars” were afforded due process of law in

accordance with the Fifth Amendment to the United States Constitution to an unbiased and fair

consideration of the evidence in the return of an Indictment. The ex parte nature of the

proceedings completely cedes to the prosecutor what and how evidence will be presented and the

prosecution theory on which the jury will be asked to indict.

          The historic and treasured independence of the Grand Jury process has waned of late as

the grand jury's tendency to indict has become more pronounced, some commentators claim that

the modern grand jury has lost its independence. See Susan W. Brenner, The Voice of the

Community: A Case for Grand Jury Independence, 3 Va. J. Soc. Pol'y & L. 67, 100 (1995)

(noting that the grand jury's nullification power allows it to insert an “influential, accurate, and

legitimate community voice” into the criminal process).

          Against this criticism, the Supreme Court has steadfastly insisted that the grand jury

remains as a shield against unfounded prosecutions. See Williams, 504 U.S. at 47, (the Grand

jury “serv[es] as a kind of buffer or referee between the Government and the people”);

Mandujano, 425 U.S. at 571, (plurality opinion) (“the grand jury continues to function as a

barrier to reckless or unfounded charges”); Wood, 370 U.S. at 390 (describing the grand jury as a

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“primary security to the innocent against hasty, malicious and oppressive persecution” as it

stands “between the accuser and the accused ... to determine whether a charge is founded upon

reason or ... dictated by an intimidating power by malice and personal ill will[ ]”); Stirone v.

United States, 361 U.S. 212, 218 (1960); Hale v. Henkel, 201 U.S. 43, 61 (1906). See also

Branzburg v. Hayes, 408 U.S. 665, 686–87, (1972) (recognizing the dual function of the grand

jury “of determining if there is probable cause to believe that a crime has been committed and of

protecting citizens against unfounded criminal prosecutions.”).

       This counterbalancing power of Grand Jurors to nullifying an otherwise sufficient but

inappropriate indictment can only function properly when the government’s presentation

correctly and fairly reflects the evidence, the meaning and purpose of the statutory law and, if

necessary for a fair and just decision any exculpatory circumstances that will mitigate undue

prejudice. To remain faithful to his duty as an officer of the Court and purveyor of justice the

prosecutor must instruct the jurors fully on the law they must consider. The prosecutor must be

vigilant and ready to remedy any misunderstandings, confusion, and ambiguities in the evidence

and law presented.

       The Government’s failure to present any witness testimony to show the Jaafars’ willfully

and knowingly entered the charged conspiracy with felonious intent to aid unnamed and

unidentified retail purchasers to evade the payment of taxes or other financial obligation each

might have to the Commonwealth or the federal government. The Government masked this

deficiency by attempting to raise an inference through a nonexpert lottery employee who opined

that the number of tickets and amount of money won by the Jaafars was statistically and factually

impossible to be accomplished. Failing to correct this misimpression allowed the possibility the

Grand Jurors inferred that activity involving so many tickets and such a large amount of money



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was criminal and created an inference they knew what they were doing was wrong and they were

engaged in this activity willfully and knowingly. See United States v. Pastor, 419 F.Supp. 1318

(S.D.N.Y.1975); United States v. Estepa, 471 F.2d 1132 (2nd Cir. 1972).

       The question in the Ali Jaafar, Mohamed Jaafar, and Yousef Jaafar (collectively “the

Jaafars”) prosecution is different than the issues that were raised in the Volker matter, and

questioned by the prosecutor in this case as irrelevant to the federal tax evasion case. In Volker,

the question was whether the Massachusetts enabling statute G.L. c. 10, §§ 20 et seq. properly

delegated to the lottery commission the authority to alter the redemption process without

legislative approval. The Lottery Laws clearly state that “[t]his section does not relieve any

agency from compliance with any law requiring that its regulations be approved by designated

persons or bodies before they may become effective. G.L. c. 10, §24 requires “[t]he concurrence

of the chairman and of not less than two other members of the commission shall be required for

all official actions of the commission. A copy of the minutes of each meeting of the commission,

including any rules and regulations adopted by the commission or any amendments thereof, shall

be forthwith transmitted, by and under the certification of the secretary thereof, to the governor.”

       The contention in Voelker is that the redemption process which was enacted in 1971 used

the intertwining of provisions in three sections of Massachusetts General Laws Chapter 10 to

craft the mechanism to redeem the bounty from winning tickets. See and compare G.L. c. 10,

§§24, 25, and 28. The argument in Voelker asserts that several different variations of particular

words or ideas constituted ambiguity in whether the redemption process was vague and could not

be understood by prospective people playing and interfacing with the Lottery.

       In the instant Jaafar Indictment the Prosecutor and the Court have asked whether and why

the propriety or the lawfulness of the statute is relevant, because irrespective of whether or not it



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is, the question remains whether income was received and the tax returns that were filed were not

correct and false obviating payment of the correct amount of taxes owed and required to be paid.

The Prosecutor and the Court appear to perceive the question in this case to be whether,

irrespective of the ability to establish that the original enactment was improper for being vague,

what difference would such a finding in Voelker make as to whether the Jaafars received income

and didn’t pay taxes.

       The question in the case at bar moves the focus from the statute as enacted to whether the

Rule was established properly, created within the Lottery’s authority, and its effect on use and

continued viability of §§24, 25, and 28. The application of the 2018 Directive regarding Frequent

Lottery Winners implicitly changes the redemption process and converts all instances where an

unsigned winning ticket passes from the initial retail purchaser to a third party who by such

change becomes the Holder and owner of the ticket and the only individual to whom the Lottery

will pay the winnings. That is the issue raised herein.

       The Directive as written and construed by the Lottery and its several coinvestigators

vitiates the entire concept of a Holder/Owner being the only authorized redeemer and effectively

amends the entire meaning of the Lottery Laws in relation to redemption. Thus, there is no

existing procedure to identify the owner and who will be paid. The incongruity in the Directive

as written is that the new provision does not appear to make any pronouncement that the acts of a

third party buying and redeeming winning tickets from the retail purchasers are prohibited. This

inference is inescapable because the Directive does not foreclose the acts themselves but only

limits the number of redemptions that can be done in one year. "Lotteries are not law

enforcement agencies. They view things through the cultural prism of people winning. And I

think there was a reluctance to really do a deep dive on this issue," Sweeney told Beaudet during



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their above referenced interview. This statement implies that the Lottery did not care or want to

know whether the procedure was lawful or not. This ambivalence was palpable and clearly

created the sense that what the ten-percenters were doing was not illegal or improper. The

reversal of the Lottery’s attitude towards holder/owner rights under §§24 and 25 was equally

obvious to the grand jurors and that this kind of behavior was despicable and needed to be

stopped, by any means necessary,

       The propriety of the Indictment returned depends on the nature of the presentation made

to the Grand Jury. What Instructions were provided by the Prosecutor and whether the alteration

in the redemption process caused by the Directive were clearly explained to the Jurors. Due

process is the legal requirement that the government must respect all legal rights that are owed to

a person. Due process balances the power of law of the land and protects the individual person

from it. When a government harms a person without following the exact course of the law, this

constitutes a due process violation, which offends the rule of law. The question in the instant

case is whether “the Jaafars were afforded due process of law in accordance with the Fifth

Amendment to the United States Constitution to receive an unbiased and fair consideration by

Grand Jury in the decision to return an Indictment.

       The historic and treasured independence of the Grand Jury process has waned of late as

the grand jury's tendency to indict has become more pronounced, some commentators claim that

the modern grand jury has lost its independence. See Susan W. Brenner, The Voice of the

Community: A Case for Grand Jury Independence, 3 Va. J. Soc. Pol'y & L. 67, 100 (1995)

(noting that the grand jury's nullification power allows it to insert an “influential, accurate, and

legitimate community voice” into the criminal process).




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       Against this criticism, the Supreme Court remains steadfast that the grand jury continues

as a shield against unfounded prosecutions. See Stirone v. United States, 361 U.S. 212, 218

(1960), its predecessors and progeny like Hale v. Henkel, 201 U.S. 43, 61 (1906) and Branzburg

v. Hayes, 408 U.S. 665, 686–87 (1972), all recognizing the dual function of the grand jury “of

determining if there is probable cause to believe that a crime has been committed and of

protecting citizens against unfounded criminal prosecutions.” The countervailing power of Grand

Jurors to nullify an otherwise sufficient but inappropriate indictment can only function properly

when the presentation correctly and fairly reflects the state of affairs and stays alert to remedy

any misunderstandings, confusion, and ambiguities in the evidence and law presented.

       While in theory a trial provides the defendant with a full opportunity to contest and

disprove the charges against him, in practice, the handing up of an indictment will often have a

devastating personal and professional impact that a later dismissal or acquittal can never undo.

Where the potential for abuse is so great, and the consequences of a mistaken indictment so

serious, the ethical responsibilities of the prosecutor, and the obligation of the judiciary to protect

against even the appearance of unfairness, are correspondingly heightened. Almost a century ago

in Berger v. United States, 295 U.S. 78 (1935) the Court ruled that the competing considerations

of “prejudice” and “probative value” effect whether an indictment will be returned.

       Although the proceedings are ex parte and not overseen by a judge, the prosecutor's

discretion in presenting evidence to the Grand Jury is nevertheless bounded. A prosecutor in the

presentation has an obligation to uphold the fairness, impartiality, and lack of bias of this

important governmental body. The prosecutor need not be entirely “neutral and detached” but

should not ignore her duty to refrain from utilizing improper methods calculated to produce a

wrongful [Indictment].



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    IV.      CONCLUSION

          For all the reasons set forth herein the Jaafars asked that indictment be dismissed, or

alternatively the Court order the Government to provide defendants the Grand Jury transcripts

and give the Jaafars the opportunity to investigate the infirmities argued herein and supplement

their Motion to Dismiss.

                                                  Respectfully submitted,
                                                  Ali Faafar, Mohamed Jaafar and Yousef Jaafar,
                                                  by their attorneys


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                                      CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies will be sent
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                                                          /s/William Cintolo



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